                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR08-4072-MWB
 vs.                                                ORDER CONCERNING
                                                 MAGISTRATE’S REPORT AND
                                                RECOMMENDATION REGARDING
 BRANDON ALLEN MAUL,
                                                  DEFENDANT’S MOTION TO
                                                        SUPPRESS
               Defendant.

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                      I. INTRODUCTION AND BACKGROUND
       On August 26, 2008, an indictment was returned against defendant Brandon Allen
Maul, charging defendant Maul with conspiring to distribute 50 grams or more of crack
cocaine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846, and possessing
with intent to distribute, and aiding and abetting the possession with intent to distribute,
50 grams or more of crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and
841(b)(1)(A) and 18 U.S.C. § 2. On October 20, 2008, defendant Maul filed a Motion
to Suppress. Defendant Maul contends that the court should suppress all the evidence that
resulted from a traffic stop of the vehicle he was driving, arguing that law enforcement
officers lacked probable cause to stop his vehicle. Alternatively, defendant Maul contends
that even if the police had probable cause to stop his vehicle, the police violated his Fourth
Amendment rights by continuing to detain him after the police had concluded their
investigation for the observed traffic violation. The prosecution filed a timely resistance
to defendant Maul’s motion.



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       Defendant Maul’s Motion to Suppress was referred to Chief United States
Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). After conducting an
evidentiary hearing, on October 30, 2008, Judge Zoss filed a Report and Recommendation
in which he recommends that defendant Maul’s Motion to Suppress be denied. Judge Zoss
concluded that the police had probable cause to conduct a traffic stop of defendant Maul’s
vehicle. Judge Zoss further found that the police officers’ continued detention of defendant
Maul past the conclusion of the traffic stop investigation was supported by a reasonable,
articulable suspicion that criminal activity was afoot. Accordingly, Judge Zoss concluded
that the further detention after the traffic stop, and asking defendant Maul to exit the
vehicle, was lawful. Neither the government nor defendant Maul have filed objections to
Judge Zoss’s Report and Recommendation.


                                 II. LEGAL ANALYSIS
       The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:

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              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the


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court accepts Judge Zoss’s Report and Recommendation of October 30, 2008, and orders
that defendant Maul’s Motion to Suppress is denied.
      IT IS SO ORDERED.
      DATED this 20th day of November, 2008.


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                                              MARK W. BENNETT
                                              U. S. DISTRICT COURT JUDGE
                                              NORTHERN DISTRICT OF IOWA




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